                        Case 17-01234-LMI        Doc 88      Filed 06/26/19   Page 1 of 2




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

In re:                                                                Case No. 16-25954- LMI
                                                                      Chapter 7
JORGE HAf\IE,

                Debtor.                I

COLTEFINANCIERA, S.A. and                                                Adv. Pro. No. 17-01234-LMI
BLUE BANK INTERNATIONAL, N.V.,

                Plaintiff,
V.


JORGE HANE,

                 Defendant.                I

                                               EXHIBIT REGISTER

Exhibits Submitted on behalf of:
                                                                         no   f~httit wdwcluc~.
[    ) Debtor    [      ] Plaintiff [ x ] Defendant [    ] Other:
                                                                          fu.Jk 105 z. Md-hcrv1
Date of Hearing/Trial: June 24, 2019
                                                                                   ~{(it\t"U{ .
Type of Hearing/Trial: Confirmation Hearing

SUBMITTED BY:                Michael .S. Hoffman, Esq.
                             909 N. Miami Beach Blvd.# 201
                             North Miami Beach, FL 33162
                             T.    305.653.5555
                             F.    305.940.0090
                             E.    mshoffman@hlalaw.com

      Exhibit                     Description                 Admitted          Refused           Not Introduced
    Number/Letter
          1.             Plaintiffs' Amended Complaint

          2.               Defendants' Answer and
                             Affirmative Defenses
          3.              Debtor's Initial Bankruptcy
                          Schedules and Statements
          4.            Trustee's Notice of Taking 2004
                          Examination Duces Tecum


Lf-49 (rev. 12/01/09)
              Case 17-01234-LMI        Doc 88    Filed 06/26/19   Page 2 of 2
'   I




        5.        Plaintiffs' Cross Notice of
              Taking Rule 2004 Examination
                         Duces Tecum
        6.       Dropbox folder containing
                documents produced by the
               Defendant in response to the
              Trustee's Notice of Taking 2004
                 Examination Duces Tecum
        7.           Trustee's Motion to
               Compromise Controversy with
                 Jorge Hane and Florencia
                              Hane
        8.        Order Granting Motion to
                 Compromise Controversy
              Between the Trustee And Jorge
                 Hane And Florencia Hane
        9.    Deposition Transcript of Carlos
                    Zambrano, Corporate
                Representative of Blue Bank
                      International, N.V.
        10.    Deposition Transcript of Jamie
                     Castillo, Corporate
                      Representative of
                   Coltefinanciera, S.A.S.
        11.    Plaintiff's Subpoena to Jeffrey
                              Weiss
        12.    Defendant's Consent to Jeffrey
              Weiss production of documents
        13.     Defendant's 2013 Tax Return

        14.    Defendant's 2014 Tax Return

        15.    Defendant's 2015 Tax Return

        16.    Defendant's 2016 Tax Return

        17.      JorgeHane Holdings, LLC
               report from Florida Division of
                        Corporations
        18.     Latinoshopping Corp. report
                   from Florida Division of
                         Corporations
        19.     Because it Works, LLC 2017
                          Tax Return
        20.    Flash Drive of Initial Response
                  by Jeffrey Weiss, CPA to
                          Subpoena
        21.     Flash Drive of Supplemental
                 Response of Jeffrey Weiss,
                      CPA to Subpoena
